Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 1 of 6 Pageid#:
                                 15778




                  EXHIBIT 9
     Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 2 of 6 Pageid#:
                                      15779
                                                                                Page 1
1
2               UNITED STATES DISTRICT COURT
3             FOR THE WESTERN DISTRICT OF VIRGINIA
4                Charlottesville Division
5
6
7    ELIZABETH SINES, et al.,
8              Plaintiffs
9       vs.                       Civil Action No.
10 JASON KESSLER, et al.,                   3:17-cv-00072-NKM
11              Defendants
12                                             I
13
14
15
16
17             REMOTE VIDEO-RECORDED DEPOSITION
18                          OF
19                JEFFREY STEPHEN SCHOEP
20                    JULY 21, 2020
21
22
23    REPORTED BY:
24    R. Dwayne Harrison
25   Job No. 181000


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     Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 3 of 6 Pageid#:
                                      15780
                                                                              Page 270
1                JEFFREY STEPHEN SCHOEP

2    to determine it's more recent?

3       A      There was -- I don't remember what it was,

4    but there was something -- there was something in the
5    last -- in the 25th one that I didn't like and that I

6    changed. I don't remember what it was, but I knew if I

7    read it that I could tell if it was more recent or not.
8        Q     When you look at 25 here there isn't

9    something that you disagree with?

10       A     I'm not talking about now. I'm talking

11    about there was something -- there was something in

12 that point that I -- that I didn't care for and I can't

13    remember what it was, but there was something that was

14    changed in that point at some point.
15             MR. ISAACSON: I don't have any further

16    questions today.

17             [No verbal response.]
18             All right. So we're finished?

19             THE REPORTER: Anybody have any questions?

20             MR. REBROOK: This is Edward ReBrook.

21    actually do have a question.

22             I've been informed indirectly that
23    Mr. Colucci is on vacation and won't be able to be

24   deposed on Thursday and then I don't know who we're

25   supposed to get on the phone for the Nationalist Front.


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     Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 4 of 6 Pageid#:
                                      15781
                                                                              Page 271
1                 JEFFREY STEPHEN SCHOEP
2 We've covered a lot of Nationalist Front ground today.
3              Did you all have -- are you expecting
4    someone to be calling in tomorrow for Nationalist
5    Front?
6              MR. ISAACSON: Yes. We don't know. We
7    have -- are we still on the record?
8              THE REPORTER: We're still on the record.
9              MR. ISAACSON: Mr. Schoep, if I could just
10    ask you, as of today, you don't speak for the
11    Nationalist Front?
12             THE WITNESS: Absolutely not.
13             MR. ISAACSON: So, Yotam, you correct me if
14    I'm wrong ...
15             [Inaudible.]
16             MR. BARKAI: I'm sorry, what did you say?
17             MR. ISAACSON: [Inaudible.] It's lawyer

18 talk.
19             MR. REBROOK: I'm hearing just feedback.
20             THE REPORTER: Yeah, I'm also hearing
21   feedback. I didn't hear the question.
22             MR. BARKAI: I'm also hearing feedback.
23    This is a 30(b )(6) deposition of Nationalist Front. So
24    it's Nationalist Front and Nationalist Front's
25    counsel's responsibility to designate a representative


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     Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 5 of 6 Pageid#:
                                      15782
                                                                              Page 272
1                  JEFFREY STEPHEN SCHOEP
2 to be deposed.
3                MR. REBROOK: Yeah, I get that. That's
4    helpful. I can't just create a person out of thin air.
5    If you have somebody you want me to have on the cal I
6 tomorrow, I'll have that person on the call, but I
7 can't go with a generality. I need an actual name.
8                MR. ISMCSON: I think you're going to have
9 to send some sort of objection or whatnot to -- if
10 you're not going to have someone appear.
11               MR. REBROOK: How about this. You get
12 someone to appear for United Telephone & Telegraph
13 Company tomorrow. Can you do that for me? You can't,
14    right, because it's not a functioning organization?
15               MR. ISMCSON: I don't think this is
16    productive right not.
17               MR. REBROOK: Maybe not, but you're being
18    unreasonable if you don't hear how reasonable I'm
19    being.
20               MR. ISMCSON: Mr. -- I think we can
21    conclude the deposition with Mr. Schoep; is that
22    correct?
23               MR. REBROOK: Yes.
24               MR. ISMCSON: Mr. Schoep, you are free to
25   shut down your video.


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     Case 3:17-cv-00072-NKM-JCH Document 918-9 Filed 01/13/21 Page 6 of 6 Pageid#:
                                      15783
                                                                              Page 276
1                JEFFREY STEPHEN SCHOEP

2    State of Maryland

3    City of Baltimore, to wit:

4             I, R. Dwayne Harrison, a Notary Public of

5    the State of Maryland, Baltimore City, do hereby

6    certify that the within-named witness personally

7    appeared before me at the time and place herein set

8    out, and after having been duly sworn by me, according

9    to law, was examined by counsel.

10             I further certify that the examination was

11    recorded stenographically by me and this transcript is

12   a true record of the proceedings.

13             I further certify that I am not of counsel

14   to any of the parties, nor in any way interested in the

15   outcome of this action.

16            As witness my hand and notarial seal this

17   27th day of July 2020.

18
                         R. Dwayne Harrison
19                        Notary Public

20    My Commission Expires:

21   September 15th, 2021

22

23
24

25


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